      Case 2:07-cr-20168-JWL        Document 1758        Filed 06/29/16     Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS

United States of America,

                     Plaintiff,

v.                                                               Case No. 07-20168-15-JWL

Billy Trinkle,

                     Defendant.

                                  MEMORANDUM & ORDER

       Based on a presumptive June 27, 2016 deadline to file any § 2255 petitions based on

Johnson v. United States, 135 S. Ct. 2551 (2015), Mr. Trinkle has filed a motion to stay the

filing deadline for his anticipated § 2255 motion. He asserts that he has sought leave from the

Tenth Circuit to file a successive petition but that the Circuit has not yet ruled on his application.

In reviewing the docket, it appears to the court that the Circuit, on March 29, 2016, ruled on Mr.

Trinkle’s application to file a successive petition based on Johnson and denied authorization

based on its conclusion that Johnson has no bearing on Mr. Trinkle’s sentence. See Doc. 1743

(Mr. Trinkle’s sentence “was enhanced on a basis that does not implicate Johnson’s holding

about the constitutional deficiency of the residual clause.”). If, in fact, Mr. Trinkle has filed an

application for leave with the Circuit that the Circuit has yet to rule on, then the statute of

limitations would be tolled with respect to the filing of any § 2255 petition that raises issues that

were raised in the application. See Orona v. United States, ___ F. 3d ____, 2016 WL 3435692

(9th Cir. June 22, 2016). In that case, a stay is unnecessary. If, on the other hand, there is no

pending application for leave before the Circuit such that the limitations period is not stayed,
      Case 2:07-cr-20168-JWL      Document 1758       Filed 06/29/16   Page 2 of 2




then the court lacks jurisdiction to grant a stay because that request would not be ripe for

adjudication until a § 2255 motion has actually been filed. United States v. Daniels, 191 Fed.

Appx. 622 (10th Cir. July 11, 2006). Because a stay is either unnecessary or unavailable, the

court dismisses the motion.



       IT IS THEREFORE ORDERED BY THE COURT THAT Mr. Trinkle’s motion to

stay (doc. 1757) is dismissed.



       IT IS SO ORDERED.



       Dated this 29th day of June, 2016, at Kansas City, Kansas.



                                                s/ John W. Lungstrum
                                                John W. Lungstrum
                                                United States District Judge




                                               2
